         Case 1:18-cr-00711-RMB Document 41
                                         40 Filed 11/09/20
                                                  11/06/20 Page 1 of 1




                                                          DIRECT DIAL   (929) 295-2544
                                                          DIRECT EMAIL aconlon@kaplanhecker.com

                                                                                  November 6, 2020

Honorable Richard M. Berman
United States District Court
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street, Courtroom 17B
New York, NY 10007

       Re: U.S.A. v. Klein, 1:18-cr-00711-RMB

Dear Hon. Judge Berman:

       I write to request permission for Mr. Klein to travel to visit Pennsylvania State University
with his daughter, who is considering applying there for college.

       Mr. Klein has been on pretrial release since his initial appearance before the magistrate
court on October 11, 2018. It is a condition of Mr. Klein’s pretrial release that he not travel
outside the Southern District of New York, the Eastern District of New York, and the District of
New Jersey without permission of the Court.

       Mr. Klein respectfully seeks permission to travel with his family to Pennsylvania State
University in State College, Pennsylvania. He and his family would drive from New Jersey to
Pennsylvania for a day-time visit and return to New Jersey in the evening. They would depart
today, Friday, November 6th.

     The government does not object to a modification of Mr. Klein’s release conditions to
accommodate the proposed travel.

Respectfully submitted,
                                                   Application granted on consent.

 Alexandra Conlon

 cc:    (by email)

       Nicolas Roos
       Assistant United States Attorney

       Mia Rahman
       Pretrial Services
                                                        11/9/2020
